Case 1:21-cr-00172-RJJ ECF No.1, PagelD.1 Filed 09/24/21 Page 1 of 2

FILED -GR
September 24, 2021 11:36 AM

UNITED STATES DISTRICT COURT Ce pee Reticee
WESTERN DISTRICT OF MICHIGAN NESTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION BYJMW SCANNED By-~§ AL‘ IU)

UNITED STATES OF AMERICA,
1:21-cr-172

a Robert J. Jonker
Plaintiff, Chief U.S. District Judge

Vv.

JAMES FREDERICK WYNN, FELONY INFORMATION

Defendant.
/

 

The United States Attorney charges:

(Wire Fraud)

Between in or about November 2016 and continuing to in or about May 2018, in
Emmet County, in the Southern Division of the Western District of Michigan, and elsewhere,
JAMES FREDERICK WYNN
knowingly devised a scheme and artifice to defraud to obtain money by means of false and
fraudulent pretenses, representations, and promises, and transmitted and caused to be
transmitted certain writings, signs, signals, and sounds by means of wire communication in

interstate commerce to execute the scheme.

Specifically, at all times relevant to this Information:

1, Defendant JAMES FREDERICK WYNN was an attorney licensed to practice
law in the State of Michigan doing business as “Wynn Law, PLLC” and “J.F. Wynn &
Associates.” He maintained an office in Petoskey, Emmet County, Michigan.

2. Defendant JAMES FREDERICK WYNN devised and executed a scheme to
defraud to obtain money from International Samarkand Hotel Group, LLC; Nan E. Casey;

and Thomas G. McIntyre by means of false and fraudulent pretenses and representations.
Case 1:21-cr-00172-RJJ ECF No.1, PagelD.2 Filed 09/24/21 Page 2 of 2

The object of his scheme was to obtain money to use for his personal living and business
expenses, including paying off existing debt.

3. To execute the scheme to defraud, Defendant JAMES FREDERICK WYNN
transmitted, and caused others to transmit, certain writings, signs, signals, and sounds by
means of wire communication in interstate commerce. WYNN used an electronic mail
account and sent and received electronic mail over the Internet in furtherance of the scheme.
18 U.S.C. § 1343

ANDREW BYERLY BIRGE
United States Attorney

Dated: September 24, 2021

 

CHRISTOPHER M. O’CONNOR
Assistant United States Attorney
